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                                          JS-6

  1                        UNITED STATES DISTRICT COURT
  2                      CENTRAL DISTRICT OF CALIFORNIA
  3
                                   WESTERN DIVISION
  4
  5
  6   SHUNITTA SHERIE CALVIN,                        ) No. 2:21-cv-03002-SHK
                                                     )
  7         Plaintiff,                               )
                                                     ) [PROPOSED] JUDGMENT
  8                v.                                )
                                                     )
  9                                                  )
      KILOLO KIJAKAZI, Acting                        )
 10   Commissioner of Social Security,               )
                                                     )
 11                                                  )
      Defendant.                                     )
 12                                                  )
                                                     )
 13                                                  )
                                                     )
 14
 15         Having approved the parties’ joint stipulation to voluntary remand
 16   pursuant to sentence four of 42 U.S.C. § 405(g) and to entry of judgment, THE
 17   COURT ADJUDGES AND DECREES that judgment is entered for Plaintiff.
 18
 19
 20
      Date: 10/19/2021                     ____________________________________
                                           HON. SHASHI H. KEWALRAMANI
 21                                        UNITED STATES MAGISTRATE JUDGE
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 24
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